      Case 20-30608           Doc 851-2         Filed 10/18/21 Entered 10/18/21 23:57:02          Desc Exhibit
                                                      1 pt 2Page 1 of 23
DioctiSign Envelope ID: 2D121DAB-41323-4E10-8C83-9E0F7DA035CA
                                                         F

                      WHEREFORE, Plaintiff prays for the entry of an Order appointing WANDA M. HELLMER, Special

             Administrator of the Estate of DAVID C. HELLMER, SR., Deceased.


                                                                Respectfully Submitted,


                                                                      c
                                                                COONEY AND CONWAY
                                                                          DoeuSigned by:



                                                                BY:      F4A44114R45754RR

                                                                      Attorney for Plaintiff


             Lawrence R. Weisler
             COONEY AND CONWAY
             Attorneys for Plaintiff
            120 North LaSalle St., 30th Floor
            Chicago, IL 60602
            (312) 236-6166
            ARDC No.: 6284232
             lweisler@cooneyconway.com




                                                                                                     DEBTORS_00009074
      Case 20-30608           Doc 851-2         Filed 10/18/21 Entered 10/18/21 23:57:02                  Desc Exhibit
                                                    1 pt 2 Page 2 of 23
DocuSign Envelope ID: 2171210AB-4023-4E10-8C83-9E0F7DA035CA

            19-0074M LRW/ms

            STATE OF         )
                             )g                                                             afik
                                                                                               THIRD
                                                                                                  oAFPR 2
            COUNTY OF MADISON)
                                                                                            •44rw.conictscor 282°
                                                                                                             CciORcUR_
                                                                                                      t                  rif8°
                                                                                                             rry
                                            IN THE CIRCUIT COURT,THIRD JUDICIAL CIRCUIT
                                                     MADISON COUNTY,ILLINOIS

              WANDA M. HELLMER,Special Administrator of the                   IN RE: ASBESTOS LITIGATION
              Estate of DAVID C. HELLMER,SR., Deceased,
                                                                              NO:
                                       Plaintiff,

                      vs.

              A.O. SMITH CORPORATION,et al.,

                                       Defendants.

                                                              ORDER

                     THIS CAUSE coming before the Court on a Motion to appoint Special Administrator of the Estate

            of DAVID C. HELLMER, SR., Deceased, and it being represented that WANDA M. HELLMER is legally

            competentto act as Administrator as required by 7551LCS 5/9-1 ofthe Illinois Compiled Statutes; pursuant

            to rule, Plaintiff's counsel has provided notice to the last known address of each of the DAVID C. HELLMER,

            SR.'s heirs and/or legatees;

                     IT IS HEREBY ORDERED that WANDA M.HELLMER is appointed Special Administrator of the Estate

            of DAVID C. HELLMER, SR., Deceased, for the purpose of prosecuting this cause of action, pursuant to

            Section 2.1 of the Wrongful Death Act, 740 ILCS 180/2 (2006).

                                                                                     4

             COONEY AND CONWAY                                                      06 7            2020
             Attorneys for Plaintiff
            120 N. LaSalle St.,30th Floor
             Chicago, Illinois 60602
            (312)236-6166
                                                                      JUDGE




                                                                                                               DEBTORS_00009075
          Case 20-30608          Doc 851-2         Filed 10/18/21 Entered 10/18/21 23:57:02                         Desc Exhibit
S
.    v
                                                        1 pt 2
    DecuSign Envelope ID: 2D121DAB-4D23-4E10-8CB3-9E0F7DA035CA Page 3 of 23                                                          "r•EFILED***
                                                                                                                     Case Number 2020L 000345
                19-0074M LRW/ms                                                                                         Date: 3/16/2020 10:17 AM
                                                                                                                                   Mark Von Nida
                                                                                                                            Clerk of Circuit Court
                STATE OF ILLINOIS       )                                                         Third Judicial Circuit, Madison County Illinois
                                  )§
                COUNTY OF MADISON )

                                             IN THE CIRCUIT COURT, THIRD JUDICIAL CIRCUIT
                                                      MADISON COUNTY, ILLINOIS

                     WANDA M. HELLMER, Special Administrator of
                     the Estate of DAVID C. HELLMER, SR., Deceased,

                                          Plaintiff,                       No.
                         VS.


                     A.O. SMITH CORPORATION, et al.,                                2020L 000345

                                          Defendants.

                                                         ENTRY OF APPEARANCE

                        NOW COME Cooney and Conway, Lawrence R. Weisler (IL Bar No. 6284232), Robert J. Cooney,

                Jr. (IL Bar No. 3122271), William R. Fahey (IL Bar No. 3127912), Kathy Byrne (IL Bar No. 6198739),

                Michael D. Mulvihill (IL Bar No. 6200677), Michael T. Egan (IL Bar No. 6272173), Timothy G. Martin (IL

                Bar No. 6286803), Daniel T. Ryan (IL Bar No. 6287262), Charles A. Porretta (IL Bar No. 6207946), David 0.

                Barrett (IL Bar No. 6292344), Matthew J. Adair (IL Bar No. 6298952), Judith Conway (IL Bar No. 6316970),

                Ryan P. Linsner (IL Bar No. 6309557), Michael C. Cooney (IL Bar No. 6317485), J. Devitt Cooney

               (6323761), and Megan Fahey Monty (IL Bar No. 6317999) as counsel for the Plaintiff, WANDA M.

                HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased, and enter their

                appearances in the above-mentioned cause of action.

                                                                  Respectfully Submitted,

                                                                  COONEY AND CONWAY         c—DocuSigned by:

                                                                  By:                                48452548B...



               COONEY AND CONWAY
               Attorneys for Plaintiff
               120 N. LaSalle Street, 30th Floor
               Chicago, IL 60602
               Phone:(312) 236-6166
               Fax:(312) 236-3029


                                                                 Page 1 of 1




                                                                                                                      DEBTORS_00009076
Case 20-30608      Doc 851-2        Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                        1 pt 2 Page 4 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

                                               EXHIBIT "A"
                               Personal Exposure of the Plaintiffs Decedent,
                                         DAVID C. HELLMER,SR.

    Jobsite                          years '       Detendarot products
     Lincoln Welding Company         1958-1959    A.W. CHESTERTON COMPANY: Asbestos Containing
    (Romulus, MI)                                 Packings, Seals, Gaskets and Other Asbestos Containing
                                                  Products
    General Motors Cadillac Clark    1959-1964    CRANE CO.: Cranite, Crane-Deming Pumps, Cochrane
    Street Plant (Detroit, MI)                    Asbestos Containing Feedwater Heaters, Deaerators, Heat
                                                  Exchangers, Degasifiers, Valves, Asbestos Packings,
    Kelsey-Hayes Plant (Detroit, MI) 1959-1964    Asbestos Cement, Asbestos Block, Asbestos Pipe Covering,
                                                  Gaskets, Seals, Pumps, Boilers, Jenkins Valves, Pacific
                                                  Boilers, Chapman Valves, and Other Asbestos Containing
                                                  Products and Equipment
                                                  H.B. FULLER COMPANY: Benjamin Foster Mastics,
                                                  Compounds, Cement, Thin Set Cement and Other Asbestos
                                                  Containing Products
                                                  U NION CARBIDE CORPORATION: Asbestos Containing
                                                  Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers. and Other
                                                  Asbestos Containing Products
                                                  UNIROYAL, INC.: Asbestos Blankets, Cloth, Curtains, Paper,
                                                  Felt and Other Asbestos Containing Products
                                                  CROWN,CORK AND SEAL, USA, INC.: Asbestos Cement,
                                                  Pipe Covering, Block and Other Asbestos Containing
                                                  Products
                                                  JOHN CRANE,INC.f/k/a CRANE PACKING COMPANY:
                                                  Asbestos Containing Packings, Seals, Gaskets and Other
                                                  Asbestos Containing Products
                                                  DANA COMPANIES, LLC: Asbestos Containing Victor
                                                  Gaskets and Asbestos Containing Gaskets
                                                  FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                  Successor to the former Vellumoid division of FEDERAL-
                                                  MOGUL: Asbestos Containing Gaskets
                                                  FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                                  Successor to FELT-PRODUCTS MANUFACTURING CO.:
                                                  Asbestos Containing Gaskets and Seals
                                                  SEPCO CORP.: Asbestos Containing Gaskets, Packings and
                                                  Other Asbestos Containing Products and Equipment
                                                  PARKER-HANNIFIN CORPORATION: Asbestos Containing
                                                  Aircraft Brake Control System Units; Asbestos Containing
                                                  Brake Lines and Systems, Asbestos Containing Gaskets and
                                                  Packings and Other Asbestos Containing Products
                                                  CHICAGO GASKET COMPANY: Asbestos Containing Gaskets
                                                  GREENE,TWEED & CO.: Asbestos containing gaskets,
                                                  packings, seals, and other asbestos containing materials



                                               Page 1 of 45




                                                                                               DEBTORS_00009077
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                    1 pt 2 Page 5 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsrte                       Years        0efendant: Products
                                                FLOWSERVE US INC., as Successor-in-Interest to
                                                DURAMETALLIC CORPORATION: Asbestos containing
                                               gaskets, packings, seals, and other asbestos containing
                                                materials
                                                DAP, INC.: Asbestos Compounds and Other Asbestos
                                               Containing Products
                                                INGERSOLL-RAND COMPANY: Asbestos Containing Pumps,
                                               Turbines, Heat Exchangers, Compressors, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GOULDS PUMPS,INC.: Asbestos Containing Pumps, Morris
                                              'Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment
                                               STERLING FLUID SYSTEMS(USA) LLC: Asbestos Containing
                                               Pumps, Peerless Pumps, Asbestos Containing Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               FMC CORPORATION: Asbestos Containing Pumps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GARDNER DENVER,INC.: Asbestos Containing
                                               Compressors, Heat Exchangers, Turbines, Vessels, Pumps,
                                               Pipe Covering, Block, Cement, Packing, Spray, Blankets,
                                               Gaskets and Other Asbestos Containing Products and
                                               Equipment
                                               JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                                               TECHNOLOGIES, LLC: Asbestos Containing Compressors,
                                               Heat Exchangers, Turbines, Vessels, Pumps, Portable Joy Air
                                               Compressors, Pipe Covering, Block, Cement, Packing, Spray;
                                               Blankets, Gaskets and Other Asbestos Containing Products
                                               and Equipment
                                               IMO INDUSTRIES, INC.: Asbestos Containing Imo Pumps,
                                               DeLaval Pumps, Packings, Gaskets, Block, Turbines,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               BW/IP, INC.: Asbestos Containing Pumps, Pipe Covering,
                                               Byron Jackson Pumps, Block, Cement, Blankets, Gaskets,
                                               Packings, Mastics and Other Asbestos Containing Products
                                               and Equipment
                                               AIR & LIQUID SYSTEMS CORPORATION, as Successor-by-
                                               Merger to BUFFALO PUMPS,INC.: Asbestos Containing
                                               Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment
                                               ITT CORPORATION f/k/a BELL & GOSSETT PUMP
                                               COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,


                                           Page 2 of 45




                                                                                           DEBTORS_00009078
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                    1 pt 2 Page 6 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    JOI)Site                      Years        Defendant: Products
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               AURORA PUMP COMPANY: Asbestos Containing Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to DURCO
                                               PUMPS: Asbestos Containing Pumps, Pipe Covering, Block,
                                               Cement, Blankets, Gaskets, Packings, Mastics and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG PUMPS,INC.: Asbestos Containing Pumps,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               TACO,INC.: Asbestos Containing Pumps, Heat Exchangers,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               FMC CORPORATION,Individually, and as Successor-in-
                                               Interest to CHICAGO PUMP COMPANY: Asbestos
                                               Containing Pumps, Packings, Gaskets, Block, Cement, Pipe
                                               Covering and Other Asbestos Containing Products and
                                               Equipment
                                               ITT CORPORATION,Individually, and as Successor-in-
                                               Interest to HOFFMAN SPECIALTY MANUFACTURING
                                               COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               WARREN PUMPS, LLC.: Asbestos Containing Pumps,
                                               Packings, Gaskets, Pipe Covering, Block, Cement and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG INTERNATIONAL, INC.: Asbestos Containing
                                               Steam Traps, Pumps, Heat Exchangers, Vessels, Valves,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               SPIRAX SARCO, INC.: Asbestos Containing Pumps, Heat
                                               Exchangers, Vessels, Valves, Steam Traps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GENERAL ELECTRIC COMPANY: Asbestos Containing
                                               Pumps,Turbines, Heat Exchangers, Vessels, Valves, Steam
                                               Traps, Packings, Gaskets, Block, Cement, Pipe Covering and
                                               Other Asbestos Containing Products and Equipment
                                               CBS CORPORATION, a Delaware Corporation,f/k/a
                                               VIACOM INC., Successor by Merger to CBS CORPORATION,


                                           Page 3 of 45




                                                                                           DEBTORS_00009079
Case 20-30608     Doc 851-2      Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                     1 pt 2 Page 7 of 23

   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                        Years        Defendant: Products
                                                a Pennsylvania Corporation,f/k/a WESTINGHOUSE
                                                ELECTRIC CORPORATION: Asbestos Containing Pumps,
                                                Turbines, Heat Exchangers, Vessels, Valves, Steam Traps,
                                                Packings, Gaskets, Block, Cement, Micarta Board, Pipe
                                                Covering and Other Asbestos Containing Products and
                                                Equipment
                                                FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                                                Individually, and as Successor-in-Interest to THE EDWARD
                                                VALVE AND MANUFACTURING COMPANY,and as
                                                Successor-In-Interest to ROCKWELL MANUFACTURING
                                                COMPANY: Asbestos Containing Valves, Pumps, Pipe
                                                Covering, Block, Cement, Blankets, Gaskets, Packings,
                                                Mastics and Other Asbestos Containing Products and
                                                Equipment
                                                GRIN NELL, LLC: Asbestos Containing Valves, Packings,
                                                Cement, Block, Pipe Covering, Gaskets, Seals, and Other
                                                Asbestos Containing Products and Equipment
                                                DEZURIK, INC.: Asbestos Containing Valves, Gaskets,
                                                Packing, Asbestos Cement, Pipe Covering, Block and Other
                                                Asbestos Containing Products and Equipment
                                                M ARSHALL ENGINEERED PRODUCTS COMPANY, LLC.:
                                                Asbestos Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                Covering, Compressors, Condensers and Other Asbestos
                                                Containing Products and Equipment
                                                SPENCE ENGINEERING COMPANY,INC.: Asbestos
                                                Containing Valves, Strainers, Traps Condensate Systems,
                                                Pipe Covering, Block, and Other Asbestos Containing
                                                Products and Equipment
                                                COPES-VULCAN, INC.: Asbestos Containing Valves, Gaskets,
                                                Packing, Insulation, Block, Cement, and Other Asbestos
                                                Containing Materials
                                                FOSTER WHEELERIENERGY-CORRORATION:Asbestos
                                                Containing Boilers, Condensers, Mills, Ejectors, Hoggers,
                                                Pumps, Heat Exchangers, Strainers, Economizers,
                                                Evaporators, Pipe Covering, Block, Cement, Gaskets,
                                                Packings, Spray, Board, Blankets and Other Asbestos
                                                Containing Products and Equipment
                                                RILEY POWER,INC.: Asbestos Containing Boilers, Union
                                                Iron Works Boilers, Heat Exchangers, Pipe Covering, Block,
                                                Cement, Gaskets, Packings, Spray, Board, Blankets and
                                                Other Asbestos Containing Products and Equipment
                                                CLEAVER-BROOKS,INC.: Asbestos Containing Boilers,
                                                Tanks, Deaerators, Pipe Covering, Block, Cement, Gaskets,
                                                Packings, Spray, Board, Blankets and Other Asbestos
                                                Containing Products and Equipment




                                            Page 4 of 45




                                                                                            DEBTORS_00009080
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                 Desc Exhibit
                                    1 pt 2 Page 8 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

                                  Years        Defendant Products
                                               A.O. SMITH CORPORATION: Asbestos Containing Boilers,
                                                Hot Water Heaters, Heat Exchangers, Tanks, Pipe Covering,
                                               Vessels, Block, Cement, Gaskets, Packings, Spray, Board,
                                                Blankets and Other Asbestos Containing Products and
                                                Equipment
                                               TRANE U.S., INC.: Asbestos Containing Boilers, Kewanee
                                               Boilers, American Standard Boilers, Heat Exchangers,
                                               Steam Traps, Air Handlers, Chillers, HVAC Systems, Cooling
                                               Towers, Pumps, Tanks, Pipe Covering, Block, Cement,
                                               Gaskets, Packings, Spray, Board, Blankets and Other
                                               Asbestos Containing Products and Equipment
                                               ZURN INDUSTRIES, LLC f/k/a ZURN INDUSTRIES, INC.:
                                               Asbestos Containing Boilers, Erie Boilers, Keystone Boilers,
                                               Pumps,Steam Traps, HVAC Systems, Tanks, Asbestos Pipe
                                               Covering, Compressors, Block, Cement, Gaskets, Packings,
                                               Spray, Board, Blankets and Other Asbestos Containing
                                               Products and Equipment
                                               WEIL-MCLAIN: Asbestos Containing Boilers, Pipe Covering,
                                               Block, Cement, Gaskets, Packings, Spray, Board, Blankets
                                               and Other Asbestos Containing Products and Equipment
                                               BURNHAM, LLC f/k/a BURNHAM BOILER CO.: Asbestos
                                               Containing Boilers and Vessels, Pipe Covering, Block,
                                               Cement, Gaskets, Blankets, Packings, Spray and Other
                                               Asbestos Containing Products and Equipment
                                               YUBA HEAT TRANSFER, LLC: Asbestos Containing Boilers,
                                               Heat Exchangers,' Condensers, Pipe Covering, Block,
                                               Mastics, Packings, Gaskets, Spray, Cement, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               CARRIER CORPORATION,a Delaware Corporation:
                                               Asbestos Containing Cooling Towers, Asbestos
                                               Pipecovering, Asbestos Transite Board, Asbestos Block,
                                               Asbestos_Cement, Asbestos.Gaskets, Asbestos Boilers,
                                               Packings, Spray, Board, Blankets, HVAC Equipment and
                                               Other Asbestos Containing Materials
                                               BRYAN STEAM CORPORATION: Bryan Boilers, Furnaces,
                                               and Other Asbestos Containing Products and Equipment
                                               COMPUDYNE CORPORATION,Successor by Merger to
                                               YORK-SHIPLEY, INC.: Asbestos Containing York-Shipley
                                               Boilers, Tanks, Pressure Vessels, Firebrick, Refractory,
                                               I nsulation, Gaskets, Packing and Other Asbestos Containing
                                               Products and Equipment
                                               HOWDEN BUFFALO, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Gaskets, Packing,
                                               Block, Blankets, Cement and Other Asbestos Containing
                                               Products and Equipment



                                           Page 5 of 45




                                                                                            DEBTORS_00009081
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                    1 pt 2 Page 9 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defendant: ProduCtS
                                               TWIN CITY CLARAGE, INC.: Asbestos Containing Induction
                                               Draft Fans, Blowers, Forced Draft Fans, Air Handlers, HVAC
                                               Systems, Gaskets, Packing, Block, Blankets, Cement and
                                               Other Asbestos Containing Products and Equipment
                                               LINDBERG: Asbestos Containing Furnaces, Refractory,
                                               Cement, Brick, Block, Blankets and Other Asbestos
                                               Containing Products and Equipment
                                               SURFACE COMBUSTION, INC.: Asbestos Containing
                                               Furnaces, Refractory, Cement, Brick, Block, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               RUST ENGINEERING AND CONSTRUCTION, INC.: Asbestos
                                               Containing Pipecovering, Block Insulation, Furnaces,
                                               Refractory Brick, Insulation, Castables, Cement, Gunning
                                               Materials, and Other Asbestos Containing Materials
                                               WTI-RUST HOLDINGS, INC.f/k/a RUST INTERNATIONAL
                                               INC., a DELAWARE CORPORATION,in their own right, and
                                               as Successor- in-Interest to M.W.KELLOGG COMPANY and
                                               the SWINDELL RUST DIVISION: Asbestos Containing
                                               Pipecovering, Block Insulation, Furnaces, Refractory Brick,
                                               Insulation, Castables, Cement, Gunning Materials, and
                                               Other Asbestos Containing Materials
                                               SPRINKMANN SONS CORPORATION OF WISCONSIN:
                                               Asbestos Containing Pipe Covering, Block, Spray, Blankets,
                                               Mastics, Cement and Other Asbestos Containing Products
                                               and Equipment
                                               BMI REFRACTORY SERVICES, INC., Successor-in-Interest to
                                               ADIENCE, INC.: Asbestos Pipe Covering, Block, Cement and
                                               Other Asbestos Containing Products and Equipment
                                               Asbestos containing Refractory Brick, Cements, Castables,
                                               and Other Asbestos Containing Materials
                                               McMASTER-CARR SUPPLY COMPANY: Asbestos Containing
                                               Pipe Covering, Block, Spray, Blankets, Mastics, Cements,
                                               Gaskets, Packings and Other Asbestos Containing Products
                                               and Materials
                                               AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                               Interest to HOLCROFT: Asbestos Containing Furnaces,
                                               Ovens, Block, Board, Brick, Cements, Cement Pipe, Gaskets,
                                               Insulation, Pipecovering, Refractory, and Other Asbestos
                                               Containing Materials
                                               AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                              Interest to PACIFIC INDUSTRIAL FURNACE COMPANY
                                              (PIFC0): Asbestos Containing Furnaces, Ovens, Block,
                                               Board, Brick, Cements, Cement Pipe, Gaskets, Insulation,
                                              Pipecovering, Refractory, and Other Asbestos Containing
                                               Materials



                                           Page 6 of 45




                                                                                            DEBTORS_00009082
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                   1 pt 2 Page 10 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

   :..ilobsitemmmmmmmmummmm
   ,                              Years        Defendant:Products
                                               AIV1ERON INTERNATIONAL CORPORATION: Asbestos
                                               Containing Bondstrand Pipe, Gaskets, Pipe, Phenolic Resin,
                                               and other Asbestos Containing Materials
                                               AMERON INTERNATIONAL CORPORATION, Individually,
                                               and as Successor-in-Interest to BONDSTRAND, LTD.:
                                               Asbestos Containing Bondstrand Pipe, Gaskets, Pipe,
                                               Phenolic Resin, and other Asbestos Containing Materials
                                               CHAMPIAIN CABLE CORPORATION, Individually and as
                                               Successor-in-Interest to AMERICAN SUPER TEMPERATURE
                                               WIRE, Successor-in-Interest to HAVEG INDUSTRIES, INC.
                                               and Successor-by-Merger to HAVEG CORPORATION:
                                               Chemtite Pipe, Haveg Pipe and Other Asbestos Containing
                                               Products and Equipment -
                                               CHICAGO-WILCOX MANUFACTURING COMPANY: Asbestos
                                               containing gaskets, packings, seals, and other asbestos
                                               containing materials
                                               ELECTROLUX HOME PRODUCTS, INC., as Successor-in-
                                               Interest to BLAW-KNOX CONSTRUCTION EQUIPMENT
                                               MANUFACTURING CORPORATION: Asbestos Containing
                                               Brakes, Clutches, Gaskets, Cranes, Hoists, Earthmovers, and
                                               other Asbestos Containing Products and Equipment.
                                               F.B. WRIGHT COMPANY,A MICHIGAN CORPORATION:
                                               Asbestos Containing Pipecovering, Block, Insulation,
                                               Cement, Refractory, Castables, Brick, Gaskets, Packings,
                                               and Other Asbestos Containing Materials
                                               FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to ALDRICH
                                               PUMP COMPANY: Asbestos Containing Pumps, Gaskets,
                                               Packing, Cement, Insulation, and other Asbestos Containing
                                               Materials
                                               GARDNER DENVER,INC., Individually, and as Successor-in-
                                               Interest to NASH ENGINEERING COMPANY: Asbestos
                                               Containing Pumps, Gaskets, Packing, Cement, Insulation,
                                               and other Asbestos Containing Materials
                                               INTERLINE BRANDS, INC., f/k/a WILMAR INDUSTRIES,
                                               INC.: Asbestos Gaskets, Packings and Other Asbestos
                                               Containing Products and Equipment
                                               INTERLINE BRANDS, INC., Individually and as Successor-in-
                                               Interest to WILMAR INDUSTRIES, INC.: Asbestos Gaskets,
                                               Packings and Other Asbestos Containing Products and
                                               Equipment
                                               ITT INDUSTRIES, INC., Individually, and as Successor-in-
                                               Interest to McDonnell & Miller, Inc.: Asbestos Containing
                                               Pumps, Valves, Insulation, Gaskets, Packing, and other
                                               Asbestos Containing Materials



                                           Page 7 of 45




                                                                                           DEBTORS_00009083
      Case 20-30608      Doc 851-2        Filed 10/18/21 Entered 10/18/21 23:57:02              Desc Exhibit
,11
                                             1 pt 2 Page 11 of 23

         19-0074M
         WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

           Jobsite                         Years         .
                                                       Defendarit: Producrl
                                                       J.A. SEXAUER,INC., A NEW YORK CORPORATION: Asbestos
                                                       Containing Gaskets, Packings, Seals, and Other Asbestos
                                                       Containing Materials
                                                       RIC-WIL, INCORPORATED: Asbestos Containing Pre
                                                        I nsulated Pipe and Conduit
                                                       ROGER ZATKOFF COMPANY: Asbestos Containing Gaskets,
                                                       Packings, Rope, Seals and other Asbestos Containing
                                                       Materials
                                                       SEALITE, INC.: Asbestos Containing White Oakum and other
                                                       Asbestos Containing Materials
                                                       STANDARD FUEL ENGINEERING COMPANY: asbestos
                                                       containng zerobestos cement, cements, refractory,
                                                       castables, and other asbestos containing materials
                                                       U NION PUMPS COMPANY f/k/a David Brown Union Pump
                                                       Company: Asbestos Containing Pumps, Morris Pumps,
                                                       Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                       Asbestos Containing Products and Equipment
                                                       WATTS REGULATOR COMPANY: Asbestos Containing
                                                       Pumps, Valves, Insulation, Gaskets, Packing, and other
                                                       Asbestos Containing Materials
                                                       WELTON RUBBER COMPANY,Individually, and as
                                                       Successor-In-Interest to WELTON RUBBER AND ASBESTOS
                                                       COMPANY: Asbestos Containing Gaskets, Packings,
                                                       Adhesives, Tapes, Molded Plastics, Hoses, and Other
                                                       Asbestos Containing Materials
                                                       WILMAR INDUSTRIES, INC., Individually and Successor-in-
                                                       Interest to SEXAUER, INC.: Asbestos Gaskets, Packings and
                                                       Other Asbestos Containing Products and Equipment

          Jobsite                          Years
          Ford Rouge Plant(Dearborn,       1959-1964   A.W. CHESTERTON COMPANY: Asbestos Containing
          MI)                                          Packings, Seals, Gaskets and Other Asbestos Containing
                                                       Products
          Great Lakes Steel                1959-1964   CRANE CO.: Cranite, Crane-Deming Pumps, Cochrane
             • 80 Inch Mill (Ecorse,                   Asbestos Containing Feedwater Heaters, Deaerators, Heat
                  MI)                                  Exchangers, Degasifiers, Valves, Asbestos Packings,
             • Ecorse, MI                              Asbestos Cement, Asbestos Block, Asbestos Pipe Covering,
             • Zug Island (Detroit, MI)                Gaskets, Seals, Pumps, Boilers, Jenkins Valves, Pacific
                                                       Boilers, Chapman Valves, and Other Asbestos Containing
          Chrysler Huber Street Foundry    1964-1979   Products and Equipment
          (Detroit, MI)                                H.B. FULLER COMPANY: Benjamin Foster Mastics,
                                                       Compounds, Cement, Thin Set Cement and Other Asbestos
          McLouth Steel                    1964-1979   Containing Products
            • Detroit, MI                              U NION CARBIDE CORPORATION: Asbestos Containing
            • Trenton, MI                              Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers and Other
                                                       Asbestos Containing Products


                                                   Page 8 of 45




                                                                                                    DEBTORS_00009084
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                   1 pt 2 Page 12 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defertdarit: Products
                                               UNIROYAL, INC.: Asbestos Blankets, Cloth, Curtains, Paper,
                                               Felt and Other Asbestos Containing Products
                                               CROWN,CORK AND SEAL, USA,INC.: Asbestos Cement,
                                               Pipe Covering, Block and Other Asbestos Containing
                                               Products
                                               JOHN CRANE, INC.f/k/a CRANE PACKING COMPANY:
                                               Asbestos Containing Packings, Seals, Gaskets and Other
                                               Asbestos Containing Products
                                               DANA COMPANIES, LLC: Asbestos Containing Victor
                                               Gaskets and Asbestos Containing Gaskets
                                               FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                               Successor to the former Vellumoid division of FEDERAL-
                                               MOGUL: Asbestos Containing Gaskets
                                               FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                               Successor to FELT-PRODUCTS MANUFACTURING CO.:
                                               Asbestos Containing Gaskets and Seals
                                               SEPCO CORP.: Asbestos Containing Gaskets, Packings and
                                               Other Asbestos Containing Products and Equipment
                                               PARKER-HANNIFIN CORPORATION: Asbestos Containing
                                               Aircraft Brake Control System Units; Asbestos Containing
                                               Brake Lines and Systems, Asbestos Containing Gaskets and
                                               Packings and Other Asbestos Containing Products
                                               CHICAGO GASKET COMPANY: Asbestos Containing Gaskets
                                               GREENE,TWEED & CO.: Asbestos containing gaskets,
                                               packings, seals, and other asbestos containing materials
                                               FLOWSERVE US INC., as Successor-in-Interest to
                                               DURAMETALLIC CORPORATION: Asbestos containing
                                               gaskets, packings, seals, and other asbestos containing
                                               materials
                                               DAP, INC.: Asbestos Compounds and Other Asbestos
                                               Containing Products
                                               INGERSOLL-RAND COMPANY: Asbestos Containing Pumps,
                                               Turbines, Heat Exchangers, Compressors, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GOULDS PUMPS,INC.: Asbestos Containing Pumps, Morris
                                               Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment
                                               STERLING FLUID SYSTEMS(USA) LLC: Asbestos Containing
                                               Pumps, Peerless Pumps, Asbestos Containing Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               FMC CORPORATION: Asbestos Containing Pumps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment



                                            Page 9 of 45




                                                                                          DEBTORS_00009085
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                                                                                                 Desc Exhibit
                                   1 pt 2 Page 13 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

      bsite                       Years        DefendsOgilprp. dugs1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 1 :.:.:.-
                                               GARDNER DENVER,INC.: Asbestos Containing
                                               Compressors, Heat Exchangers, Turbines, Vessels, Pumps,
                                               Pipe Covering, Block, Cement, Packing, Spray, Blankets,
                                               Gaskets and Other Asbestos Containing Products and
                                               Equipment
                                               JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                                               TECHNOLOGIES, LLC: Asbestos Containing Compressors,
                                               Heat Exchangers, Turbines, Vessels, Pumps, Portable Joy Air
                                               Compressors, Pipe Covering, Block, Cement, Packing, Spray,
                                               Blankets, Gaskets and Other Asbestos Containing Products
                                               and Equipment
                                               IMO INDUSTRIES, INC.: Asbestos Containing Imo Pumps,
                                               DeLaval Pumps, Packings, Gaskets, Block, Turbines,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               BW/IP, INC.: Asbestos Containing Pumps, Pipe Covering,
                                               Byron Jackson Pumps, Block, Cement, Blankets, Gaskets,
                                               Packings, Mastics and Other Asbestos Containing Products
                                               and Equipment
                                               AIR & LIQUID SYSTEMS CORPORATION, as Successor-by-
                                               Merger to BUFFALO PUMPS,INC.: Asbestos Containing
                                               Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment
                                               ITT CORPORATION f/k/a BELL & GOSSETT PUMP
                                               COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               AURORA PUMP COMPANY: Asbestos Containing Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               FLOWSERVE US,-INC.,_a-.k.a-ELOWSERVE:PUMPICORP.,
                                               Individually, and as Successor-in-Interest to DURCO
                                               PUMPS: Asbestos Containing Pumps, Pipe Covering, Block,
                                               Cement, Blankets, Gaskets, Packings, Mastics and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG PUMPS,INC.: Asbestos Containing Pumps,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               TACO,INC.: Asbestos Containing Pumps, Heat Exchangers,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               EquipMent
                                               FMC CORPORATION,Individually, and as Successor-in-
                                               Interest to CHICAGO PUMP COMPANY: Asbestos


                                           Page 10 of 45




                                                                                                                                                                           DEBTORS_00009086
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                   1 pt 2 Page 14 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jabsite                       Years        Defendant: Products
                                                Containing Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                Covering and Other Asbestos Containing Products and
                                                Equipment
                                                ITT CORPORATION,Individually, and as Successor-in-
                                               Interest to HOFFMAN SPECIALTY MANUFACTURING
                                               COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               WARREN PUMPS, LLC.: Asbestos Containing Pumps,
                                               Packings, Gaskets, Pipe Covering, Block, Cement and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONG INTERNATIONAL, INC.: Asbestos Containing
                                               Steam Traps, Pumps, Heat Exchangers, Vessels, Valves,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               SPIRAX SARCO,INC.: Asbestos Containing Pumps, Heat
                                               Exchangers, Vessels, Valves, Steam Traps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GENERAL ELECTRIC COMPANY: Asbestos Containing
                                               Pumps, Turbines, Heat Exchangers, Vessels, Valves, Steam
                                               Traps, Packings, Gaskets, Block, Cement, Pipe Covering and
                                               Other Asbestos Containing Products and Equipment
                                               CBS CORPORATION, a Delaware Corporation,f/k/a
                                               VIACOM INC., Successor by Merger to CBS CORPORATION,
                                               a Pennsylvania Corporation,f/k/a WESTINGHOUSE
                                               ELECTRIC CORPORATION: Asbestos Containing Pumps,
                                               Turbines, Heat Exchangers, Vessels, Valves, Steam Traps,
                                               Packings, Gaskets, Block, Cement, Micarta Board, Pipe
                                               Covering and Other Asbestos Containing Products and
                                               Equipment
                                               FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to THE EDWARD
                                               VALVE AND MANUFACTURING COMPANY,and as
                                               Successor-In-Interest to ROCKWELL MANUFACTURING
                                               COMPANY: Asbestos Containing Valves, Pumps, Pipe
                                               Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               GRINNELL, LLC: Asbestos Containing Valves, Packings,
                                               Cement, Block, Pipe Covering, Gaskets, Seals, and Other
                                               Asbestos Containing Products and Equipment
                                               DEZURIK, INC.: Asbestos Containing Valves, Gaskets,
                                               Packing, Asbestos Cement, Pipe Covering, Block and Other
                                               Asbestos Containing Products and Equipment


                                           Page 11 of 45




                                                                                           DEBTORS_00009087
Case 20-30608      Doc 851-2      Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                     1 pt 2 Page 15 of 23

    19-0074M
    WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased

     Jetisite                       Years        Defendar.).#11p(040gt.
                                                  MARSHALL ENGINEERED PRODUCTS COMPANY, LLC.:
                                                 Asbestos Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                 Covering, Compressors, Condensers and Other Asbestos
                                                 Containing Products and Equipment
                                                 SPENCE ENGINEERING COMPANY,INC.: Asbestos
                                                 Containing Valves, Strainers, Traps Condensate Systems,
                                                 Pipe Covering, Block, and Other Asbestos Containing
                                                 Products and Equipment
                                                 COPES-VULCAN, INC.: Asbestos Containing Valves, Gaskets,
                                                 Packing, Insulation, Block, Cement, and Other Asbestos
                                                 Containing Materials
                                                 FOSTER WHEELER ENERGY CORPORATION: Asbestos
                                                 Containing Boilers, Condensers, Mills, Ejectors, Hoggers,
                                                 Pumps, Heat Exchangers, Strainers, Economizers,
                                                 Evaporators, Pipe Covering, Block, Cement, Gaskets,
                                                 Packings, Spray, Board, Blankets and Other Asbestos
                                                 Containing Products and Equipment
                                                 RILEY POWER,INC.: Asbestos Containing Boilers, Union
                                                 Iron Works Boilers, Heat Exchangers, Pipe Covering, Block,
                                                 Cement, Gaskets, Packings, Spray, Board, Blankets and
                                                 Other Asbestos Containing Products and Equipment
                                                 CLEAVER-BROOKS,INC.: Asbestos Containing Boilers,
                                                 Tanks, Deaerators, Pipe Covering, Block, Cement, Gaskets,
                                                 Packings, Spray, Board, Blankets and Other Asbestos
                                                 Containing Products and Equipment
                                                 A.O. SMITH CORPORATION: Asbestos Containing Boilers,
                                                 Hot Water Heaters, Heat Exchangers, Tanks, Pipe Covering,
                                                 Vessels, Block, Cement, Gaskets, Packings, Spray, Board,
                                                 Blankets and Other Asbestos Containing Products and
                                                 Equipment
                                                 TRANE U.S., INC.: Asbestos Containing Boilers, Kewanee
                                                 Boilers, American-Standard Boilers, Heat Exchangers,
                                                 Steam Traps, Air Handlers, Chillers, HVAC Systems, Cooling
                                                 Towers, Pumps, Tanks, Pipe Covering, Block, Cement,
                                                 Gaskets, Packings, Spray, Board, Blankets and Other
                                                 Asbestos Containing Products and Equipment
                                                 ZURN INDUSTRIES, LLC f/k/a ZURN INDUSTRIES, INC.:
                                                 Asbestos Containing Boilers, Erie Boilers, Keystone Boilers,
                                                 Pumps,Steam Traps, HVAC Systems, Tanks, Asbestos Pipe
                                                 Covering, Compressors, Block, Cement, Gaskets, Packings,
                                                 Spray, Board, Blankets and Other Asbestos Containing
                                                 Products and Equipment
                                                 WEIL-MCLAIN: Asbestos Containing Boilers, Pipe Covering,
                                                 Block, Cement, Gaskets, Packings, Spray, Board, Blankets
                                                 and Other Asbestos Containing Products and Equipment



                                             Page 12 of 45




                                                                                              DEBTORS_00009088
Case 20-30608      Doc 851-2      Filed 10/18/21 Entered 10/18/21 23:57:02               Desc Exhibit
                                     1 pt 2 Page 16 of 23

    19-0074M
    WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased

    Jobsite                         Years        Defendant: Products
                                                 BURNHAM, LLC f/k/a BURNHAM BOILER CO.: Asbestos
                                                 Containing Boilers and Vessels, Pipe Covering, Block,
                                                 Cement, Gaskets, Blankets, Packings, Spray and Other
                                                 Asbestos Containing Products and Equipment
                                                 YUBA HEAT TRANSFER, LLC: Asbestos Containing Boilers,
                                                 Heat Exchangers, Condensers, Pipe Covering, Block,
                                                 Mastics, Packings, Gaskets, Spray, Cement, Blankets and
                                                 Other Asbestos Containing Products and Equipment
                                                 CARRIER CORPORATION,a Delaware Corporation:
                                                 Asbestos Containing Cooling Towers, Asbestos
                                                 Pipecovering, Asbestos Transite Board, Asbestos Block,
                                                 Asbestos Cement, Asbestos Gaskets, Asbestos Boilers,
                                                 Packings, Spray, Board, Blankets, HVAC Equipment and
                                                 Other Asbestos Containing Materials
                                                 BRYAN STEAM CORPORATION: Bryan Boilers, Furnaces,
                                                 and Other Asbestos Containing Products and Equipment
                                                COMPUDYNE CORPORATION,Successor by Merger to
                                                YORK-SHIPLEY, INC.: Asbestos Containing York-Shipley
                                                Boilers, Tanks, Pressure Vessels, Firebrick, Refractory,
                                                Insulation, Gaskets, Packing and Other Asbestos Containing
                                                Products and Equipment
                                                HOWDEN BUFFALO, INC.: Asbestos Containing Induction
                                                Draft Fans, Blowers, Forced Draft Fans, Gaskets, Packing,
                                                Block, Blankets, Cement and Other Asbestos Containing
                                                Products and Equipment
                                                TWIN CITY CLARAGE, INC.: Asbestos Containing Induction
                                                Draft Fans, Blowers, Forced Draft Fans, Air Handlers, HVAC
                                                Systems, Gaskets, Packing, Block, Blankets, Cement and
                                                Other Asbestos Containing Products and Equipment
                                                BEAZER EAST, INC., formerly known as KOPPERS
                                                COMPANY,INC.: Asbestos Containing Slag Lines, Fly Ash
                                                Systems, Blowers, Breechings, Gaskets, Packings, Block,
                                                Cement, Coke Ovens, Blast Furnaces, Refractory, Cement,
                                                Brick, Blankets, Roofing Felts, Mastics and Other Asbestos
                                                Containing Products and Equipment
                                                THIEM CORPORATION, and its Division, UNIVERSAL
                                                REFRACTORIES COMPANY: Asbestos Containing Slag Lines,
                                                Fly Ash Systems, Blowers, Breechings, Gaskets, Packings,
                                                Block, Cement, Coke Ovens, Blast Furnaces, Refractory,
                                                Cement, Brick, Blankets, Roofing Felts, Mastics and Other
                                                Asbestos Containing Products and Equipment
                                                FOSECO, INC: Asbestos Containing Hot Tops, Gaskets,
                                                Liners, Sleeves, Board, Compounds, Cement, Slurry Mix and
                                                Other Asbestos Containing Products




                                            Page 13 of 45




                                                                                            DEBTORS_00009089
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                   1 pt 2 Page 17 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jobsite                       Years        Defendant: Products
                                               LINDBERG: Asbestos Containing Furnaces, Refractory,
                                               Cement, Brick, Block, Blankets and Other Asbestos
                                               Containing Products and Equipment
                                              SURFACE COMBUSTION, INC.: Asbestos Containing
                                               Furnaces, Refractory, Cement, Brick, Block, Blankets and
                                               Other Asbestos Containing Products and Equipment
                                               RUST ENGINEERING AND CONSTRUCTION, INC.: Asbestos
                                               Containing Pipecovering, Block Insulation, Furnaces,
                                               Refractory Brick, Insulation, Castables, Cement, Gunning
                                               Materials, and Other Asbestos Containing Materials
                                               WTI-RUST HOLDINGS, INC.0c/a RUST INTERNATIONAL
                                               I NC., a DELAWARE CORPORATION, in their own right, and
                                               as Successor- in-Interest to M.W. KELLOGG COMPANY and
                                              the SWINDELL RUST DIVISION: Asbestos Containing
                                               Pipecovering, Block Insulation, Furnaces, Refractory Brick,
                                               I nsulation, Castables, Cement, Gunning Materials, and
                                              Other Asbestos Containing Materials
                                              SPRINKMANN SONS CORPORATION OF WISCONSIN:
                                               Asbestos Containing Pipe Covering, Block, Spray, Blankets,
                                               Mastics, Cement and Other Asbestos Containing Products
                                               a nd Equipment
                                               BMI REFRACTORY SERVICES, INC., Successor-in-Interest to
                                              ADIENCE, INC.: Asbestos Pipe Covering, Block, Cement and
                                              Other Asbestos Containing Products and Equipment
                                              Asbestos containing Refractory Brick, Cements, Castables,
                                               and Other Asbestos Containing Materials
                                               McMASTER-CARR SUPPLY COMPANY: Asbestos Containing
                                               Pipe Covering, Block, Spray, Blankets, Mastics, Cements,
                                              Gaskets, Packings and Other Asbestos Containing Products
                                              and Materials
                                              AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                              Interest to HOLCROFT: Asbestos Containing Furnaces,
                                              Ovens, Block, Board, Brick, Cements, Cement Pipe, Gaskets,
                                               I nsulation, Pipecovering, Refractory, and Other Asbestos
                                              Containing Materials
                                              AFC-HOLCROFT, LLC, Individually, and as Successor-in-
                                              Interest to PACIFIC INDUSTRIAL FURNACE COMPANY
                                              (PIFC0): Asbestos Containing Furnaces, Ovens, Block,
                                               Board, Brick, Cements, Cement Pipe, Gaskets, Insulation,
                                              Pipecovering, Refractory, and Other Asbestos Containing
                                               Materials
                                               AN1ERON INTERNATIONAL CORPORATION: Asbestos
                                              Containing Bondstrand Pipe, Gaskets, Pipe, Phenolic Resin,
                                              and other Asbestos Containing Materials
                                              AMERON INTERNATIONAL CORPORATION, Individually,
                                              and as Successor-in-Interest to BONDSTRAND, LTD.:


                                           Page 14 of 45




                                                                                           DEBTORS_00009090
Case 20-30608      Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                    1 pt 2 Page 18 of 23

    19-0074M
    WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

                                    Years        Defendant:Products
                                                 Asbestos Containing Bondstrand Pipe, Gaskets, Pipe,
                                                 Phenolic Resin, and other Asbestos Containing Materials
                                                 CHAMPLAIN CABLE CORPORATION, Individually and as
                                                 Successor-in-Interest to AMERICAN SUPER TEMPERATURE
                                                 WIRE, Successor-in-Interest to HAVEG INDUSTRIES, INC.
                                                 and Successor-by-Merger to HAVEG CORPORATION:
                                                 Chemtite Pipe, Haveg Pipe and Other Asbestos Containing
                                                 Products and Equipment
                                                 CHICAGO-WILCOX MANUFACTURING COMPANY: Asbestos
                                                 containing gaskets, packings, seals, and other asbestos
                                                 containing materials
                                                 ELECTROLUX HOME PRODUCTS, INC., as Successor-in-
                                                 Interest to BLAW-KNOX CONSTRUCTION EQUIPMENT
                                                 MANUFACTURING CORPORATION: Asbestos Containing
                                                 Brakes, Clutches, Gaskets, Cranes, Hoists, Earthmovers, and
                                                 other Asbestos Containing Products and Equipment
                                                 F.B. WRIGHT COMPANY,A MICHIGAN CORPORATION:
                                                 Asbestos Containing Pipecovering, Block, Insulation,
                                                 Cement, Refractory, Castables, Brick, Gaskets, Packings,
                                                and Other Asbestos Containing Materials
                                                 FLOWSERVE US INC., a.k.a. FLOWSERVE PUMP CORP.,
                                                 Individually, and as Successor-in-Interest to ALDRICH
                                                PUMP COMPANY: Asbestos Containing Pumps, Gaskets,
                                                Packing, Cement, Insulation, and other Asbestos Containing
                                                 Materials
                                                GARDNER DENVER,INC., Individually, and as Successor-in-
                                                Interest to NASH ENGINEERING COMPANY: Asbestos
                                                Containing Pumps, Gaskets, Packing, Cement, Insulation,
                                                and other Asbestos Containing Materials
                                                INTERLINE BRANDS, INC., f/k/a WILMAR INDUSTRIES,
                                                INC.: Asbestos Gaskets, Packings and Other Asbestos
                                                Containing Products and Equipment
                                                INTERLINE BRANDS,INC., Individually and as Successor-in-
                                                Interest to WILMAR INDUSTRIES, INC.: Asbestos Gaskets,
                                                Packings and Other Asbestos Containing Products and
                                                Equipment
                                                ITT INDUSTRIES, INC., Individually, and as Successor-in-
                                                Interest to McDonnell & Miller, Inc.: Asbestos Containing
                                                Pumps, Valves, Insulation, Gaskets, Packing, and other
                                                Asbestos Containing Materials
                                                J.A. SEXAUER,INC., A NEW YORK CORPORATION: Asbestos
                                                Containing Gaskets, Packings, Seals, and Other Asbestos
                                                Containing Materials
                                                RIC-WIL, INCORPORATED: Asbestos Containing Pre
                                                Insulated Pipe and Conduit



                                            Page 15 of 45




                                                                                             DEBTORS_00009091
Case 20-30608      Doc 851-2        Filed 10/18/21 Entered 10/18/21 23:57:02              Desc Exhibit
                                       1 pt 2 Page 19 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    iottsite                         Years       Defendant: Products
                                                 ROGER ZATKOFF COMPANY: Asbestos Containing Gaskets,
                                                 Packings, Rope, Seals and other Asbestos Containing
                                                 Materials
                                                 SEALITE, INC.: Asbestos Containing White Oakum and other
                                                 Asbestos Containing Materials
                                                 STANDARD FUEL ENGINEERING COMPANY: asbestos
                                                 containng zerobestos cement, cements, refractory,
                                                 castables, and other asbestos containing materials
                                                 U NION PUMPS COMPANY f/k/a David Brown Union Pump
                                                 Company: Asbestos Containing Pumps, Morris Pumps,
                                                 Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                 Asbestos Containing Products and Equipment
                                                 WATTS REGULATOR COMPANY: Asbestos Containing
                                                 Pumps, Valves, Insulation, Gaskets, Packing, and other
                                                 Asbestos Containing Materials
                                                 WELTON RUBBER COMPANY,Individually, and as
                                                 Successor-In-Interest to WELTON RUBBER AND ASBESTOS
                                                 COMPANY: Asbestos Containing Gaskets, Packings,
                                                 Adhesives, Tapes, Molded Plastics, Hoses, and Other
                                                 Asbestos Containing Materials
                                                 WILMAR INDUSTRIES, INC., Individually and Successor-in-
                                                 Interest to SEXAUER,INC.: Asbestos Gaskets, Packings and
                                                 Other Asbestos Containing Products and Equipment

    Jobsite                          Years       Defendant Products
    Garden City Hospital (Garden     1959-1964   A.W. CHESTERTON COMPANY: Asbestos Containing
    City, MI)                                    Packings, Seals, Gaskets and Other Asbestos Containing
                                                 Products
    Harper Hospital (Detroit, MI)    1959-1964   CRANE CO.: Cranite, Crane-Deming Pumps, Cochrane
                                                 Asbestos Containing Feedwater Heaters, Deaerators, Heat
                                                 Exchangers, Degasifiers, Valves, Asbestos Packings,
                                                 Asbestos Cement, Asbestos Block, Asbestos Pipe Covering,
                                                 Gaskets, Seals, Pumps, Boilers, Jenkins Valves, Pacific
                                                 Boilers, Chapman Valves, and Other Asbestos Containing
                                                 Products and Equipment
                                                 H.B. FULLER COMPANY: Benjamin Foster Mastics,
                                                 Compounds, Cement,Thin Set Cement and Other Asbestos
                                                 Containing Products
                                                 UNION CARBIDE CORPORATION: Asbestos Containing
                                                 Bakelite, Paper, Felt, Roll, Raw Asbestos Fibers and Other
                                                 Asbestos Containing Products
                                                 U NIROYAL, INC.: Asbestos Blankets, Cloth, Curtains, Paper,
                                                 Felt and Other Asbestos Containing Products
                                                 CROWN,CORK AND SEAL, USA, INC.: Asbestos Cement,
                                                 Pipe Covering, Block and Other Asbestos Containing
                                                 Products


                                             Page 16 of 45




                                                                                              DEBTORS_00009092
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02             Desc Exhibit
                                   1 pt 2 Page 20 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

                                  Years        Defendant:ProduttS
                                               JOHN CRANE,INC. f/k/a CRANE PACKING COMPANY:
                                                Asbestos Containing Packings, Seals, Gaskets and Other
                                                Asbestos Containing Products
                                                DANA COMPANIES, LLC: Asbestos Containing Victor
                                               Gaskets and Asbestos Containing Gaskets
                                                FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                               Successor to the former Vellumoid division of FEDERAL-
                                                MOGUL: Asbestos Containing Gaskets
                                               FEDERAL-MOGUL U.S. Asbestos Personal Injury Trust, as
                                               Successor to FELT-PRODUCTS MANUFACTURING CO.:
                                               Asbestos Containing Gaskets and Seals
                                               SEPCO CORP.: Asbestos Containing Gaskets, Packings and
                                               Other Asbestos Containing Products and Equipment
                                               PARKER-HANNIFIN CORPORATION: Asbestos Containing
                                               Aircraft.Brake Control System Units; Asbestos Containing
                                               Brake Lines and Systems, Asbestos Containing Gaskets and
                                               Packings and Other Asbestos Containing Products
                                               CHICAGO GASKET COMPANY: Asbestos Containing Gaskets
                                               GREENE,TWEED & CO.: Asbestos containing gaskets,
                                               packings, seals, and other asbestos containing materials
                                               FLOWSERVE US INC., as Successor-in-Interest to
                                               DURAMETALLIC CORPORATION: Asbestos containing
                                              ,gaskets, packings, seals, and other asbestos containing
                                               materials
                                               DAP, INC.: Asbestos Compounds and Other Asbestos
                                               Containing Products
                                               I NGERSOLL-RAND COMPANY: Asbestos Containing Pumps,
                                               Turbines, Heat Exchangers, Compressors, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GOULDS PUMPS,INC.: Asbestos Containing Pumps, Morris
                                               Pumps, Packings, Gaskets, Block;ament,-Pipe-Covering
                                               and Other Asbestos Containing Products and Equipment
                                               STERLING FLUID SYSTEMS(USA) LLC: Asbestos Containing
                                               Pumps, Peerless Pumps, Asbestos Containing Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               FMC CORPORATION: Asbestos Containing Pumps, Packings,
                                               Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                               Containing Products and Equipment
                                               GARDNER DENVER,INC.: Asbestos Containing
                                               Compressors, Heat Exchangers, Turbines, Vessels, Pumps,
                                               Pipe Covering, Block, Cement, Packing, Spray, Blankets,
                                               Gaskets and Other Asbestos Containing Products and
                                               Equipment



                                           Page 17 of 45




                                                                                         DEBTORS_00009093
Case 20-30608     Doc 851-2     Filed 10/18/21 Entered 10/18/21 23:57:02                 Desc Exhibit
                                   1 pt 2 Page 21 of 23

   19-0074M
   WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased


                                                JOY GLOBAL UNDERGROUND MINING, LLC f/k/a JOY
                                                TECHNOLOGIES, LLC: Asbestos Containing Compressors,
                                                 Heat Exchangers, Turbines, Vessels, Pumps, Portable Joy Air
                                                Compressors, Pipe Covering, Block, Cement, Packing, Spray,
                                                Blankets, Gaskets and Other Asbestos Containing Products
                                                and Equipment
                                                IMO INDUSTRIES, INC.: Asbestos Containing Imo Pumps,
                                                DeLaval Pumps, Packings, Gaskets, Block, Turbines,
                                                Cement, Pipe Covering and Other Asbestos Containing
                                                Products and Equipment
                                                BW/IP, INC.: Asbestos Containing Pumps, Pipe Covering,
                                                Byron Jackson Pumps, Block, Cement, Blankets, Gaskets,
                                               Packings, Mastics and Other Asbestos Containing Products
                                               and Equipment
                                               AIR & LIQUID SYSTEMS CORPORATION, as Successor-by-
                                                Merger to BUFFALO PUMPS,INC.: Asbestos Containing
                                               Pumps, Packings, Gaskets, Block, Cement, Pipe Covering
                                               and Other Asbestos Containing Products and Equipment
                                                ITT CORPORATION f/k/a BELL & GOSSETT PUMP
                                               COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                               Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                               Cement, Pipe Covering and Other Asbestos Containing
                                               Products and Equipment
                                               AURORA PUMP COMPANY: Asbestos Containing Pumps,
                                               Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                               Asbestos Containing Products and Equipment
                                               FLOWSERVE US, INC., a.k.a. FLOWSERVE PUMP CORP.,
                                               Individually, and as Successor-in-Interest to DURCO
                                               PUMPS: Asbestos Containing Pumps, Pipe Covering, Block,
                                               Cement, Blankets, Gaskets, Packings, Mastics and Other
                                               Asbestos Containing Products and Equipment
                                               ARMSTRONGPLIMPS,-INCT Asbestos Containing Pumps,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               TACO, INC.: Asbestos Containing Pumps, Heat Exchangers,
                                               Pipe Covering, Block, Cement, Blankets, Gaskets, Packings,
                                               Mastics and Other Asbestos Containing Products and
                                               Equipment
                                               FMC CORPORATION, Individually, and as Successor-in-
                                               Interest to CHICAGO PUMP COMPANY: Asbestos
                                               Containing Pumps, Packings, Gaskets, Block, Cement, Pipe
                                               Covering and Other Asbestos Containing Products and
                                               Equipment
                                               ITT CORPORATION,Individually, and as Successor-in-
                                               Interest to HOFFMAN SPECIALTY MANUFACTURING


                                           Page 18 of 45




                                                                                             DEBTORS_00009094
Case 20-30608     Doc 851-2      Filed 10/18/21 Entered 10/18/21 23:57:02                Desc Exhibit
                                    1 pt 2 Page 22 of 23

    19-0074M
    WANDA M. HELLMER,Special Administrator of the Estate of DAVID C. HELLMER,SR., Deceased

    Jubsite                        Years        Defendant: Products
                                                  COMPANY: Asbestos Containing Valves, Heat Exchangers,
                                                  Pumps, Boilers, HVAC Systems, Packings, Gaskets, Block,
                                                  Cement, Pipe Covering and Other Asbestos Containing
                                                  Products and Equipment
                                                  WARREN PUMPS, LLC.: Asbestos Containing Pumps,
                                                  Packings, Gaskets, Pipe Covering, Block, Cement and Other
                                                  Asbestos Containing Products and Equipment
                                                  ARMSTRONG INTERNATIONAL, INC,: Asbestos Containing
                                                  Steam Traps, Pumps, Heat Exchangers, Vessels, Valves,
                                                  Packings, Gaskets, Block, Cement, Pipe Covering and Other
                                                  Asbestos Containing Products and Equipment
                                                 SPIRAX SARCO, INC.: Asbestos Containing Pumps, Heat
                                                  Exchangers, Vessels, Valves, Steam Traps, Packings,
                                                 Gaskets, Block, Cement, Pipe Covering and Other Asbestos
                                                 Containing Products and Equipment
                                                 GENERAL ELECTRIC COMPANY: Asbestos Containing
                                                 Pumps, Turbines, Heat Exchangers, Vessels, Valves, Steam
                                                 Traps, Packings, Gaskets, Block, Cement, Pipe Covering and
                                                 Other Asbestos Containing Products and Equipment
                                                 CBS CORPORATION, a Delaware Corporation, f/k/a
                                                 VIACOM INC., Successor by Merger to CBS CORPORATION,
                                                 a Pennsylvania Corporation,f/k/a WESTINGHOUSE
                                                 ELECTRIC CORPORATION: Asbestos Containing Pumps,
                                                 Turbines, Heat Exchangers, Vessels, Valves, Steam Traps,
                                                 Packings, Gaskets, Block, Cement, Micarta Board, Pipe
                                                 Covering and Other Asbestos Containing Products and
                                                 Equipment
                                                 FLOWSERVE US, INC. a.k.a. FLOWSERVE PUMP CORP.,
                                                 I ndividually, and as Successor-in-Interest to THE EDWARD
                                                 VALVE AND MANUFACTURING COMPANY, and as
                                                Successor-In-Interest to ROCKWELL MANUFACTURING
                                               --COMPANY: Asbestos Containing Valves, Pumps, Pipe
                                                 Covering, Block, Cement, Blankets, Gaskets, Packings,
                                                 Mastics and Other Asbestos Containing Products and
                                                 Equipment
                                                GRINNELL, LLC: Asbestos Containing Valves, Packings,
                                                Cement, Block, Pipe Covering, Gaskets, Seals, and Other
                                                Asbestos Containing Products and Equipment
                                                DEZURIK, INC.: Asbestos Containing Valves, Gaskets,
                                                Packing, Asbestos Cement, Pipe Covering, Block and Other
                                                Asbestos Containing Products and Equipment
                                                MARSHALL ENGINEERED PRODUCTS COMPANY, LLC.:
                                                Asbestos Pumps, Packings, Gaskets, Block, Cement, Pipe
                                                Covering, Compressors, Condensers and Other Asbestos
                                                Containing Products and Equipment




                                           Page 19 of 45




                                                                                            DEBTORS_00009095
Case 20-30608     Doc 851-2      Filed 10/18/21 Entered 10/18/21 23:57:02                 Desc Exhibit
                                    1 pt 2 Page 23 of 23

   19-0074M
   WANDA M. HELLMER, Special Administrator of the Estate of DAVID C. HELLMER, SR., Deceased

    Jobsite                        Years        Defendant: Products
                                                SPENCE ENGINEERING COMPANY,INC.: Asbestos
                                                Containing Valves, Strainers, Traps Condensate Systems,
                                                Pipe Covering, Block, and Other Asbestos Containing
                                                Products and Equipment
                                                COPES-VULCAN, INC.: Asbestos Containing Valves, Gaskets,
                                                Packing, Insulation, Block, Cement, and Other Asbestos
                                                Containing Materials
                                                FOSTER WHEELER ENERGY CORPORATION: Asbestos
                                                Containing Boilers, Condensers, Mills, Ejectors, Hoggers,
                                                Pumps, Heat Exchangers, Strainers, Economizers,
                                                Evaporators, Pipe Covering, Block, Cement, Gaskets,
                                                Packings, Spray, Board, Blankets and Other Asbestos
                                                Containing Products and Equipment
                                                RILEY POWER,INC.: Asbestos Containing Boilers, Union
                                                Iron Works Boilers, Heat Exchangers, Pipe Covering, Block,
                                                Cement, Gaskets, Packings, Spray, Board, Blankets and
                                                Other Asbestos Containing Products and Equipment
                                                CLEAVER-BROOKS, INC.: Asbestos Containing Boilers,
                                                Tanks, Deaerators, Pipe Covering, Block, Cement, Gaskets,
                                                Packings, Spray, Board, Blankets and Other Asbestos
                                                Containing Products and Equipment
                                                A.O. SMITH CORPORATION: Asbestos Containing Boilers,
                                                Hot Water Heaters, Heat Exchangers, Tanks, Pipe Covering,
                                                Vessels, Block, Cement, Gaskets, Packings, Spray, Board,
                                                Blankets and Other Asbestos Containing Products and
                                                Equipment
                                                TRANE U.S., INC.: Asbestos Containing Boilers, Kewanee
                                                Boilers, American Standard Boilers, Heat Exchangers,
                                                Steam Traps, Air Handlers, Chillers, HVAC Systems, Cooling
                                                Towers, Pumps, Tanks, Pipe Covering, Block, Cement,
                                                G askets, Packings, Spray, Board, Blankets and Other
                                                Asbestos Containing Products and Equipment
                                                ZURN INDUSTRIES, LLC f/k/a ZURN INDUSTRIES, INC.:
                                                Asbestos Containing Boilers, Erie Boilers, Keystone Boilers,
                                                Pumps, Steam Traps, HVAC Systems, Tanks, Asbestos Pipe
                                                Covering, Compressors, Block, Cement, Gaskets, Packings,
                                                Spray, Board, Blankets and Other Asbestos Containing
                                                Products and Equipment
                                                WEIL-MCLAIN: Asbestos Containing Boilers, Pipe Covering,
                                                Block, Cement, Gaskets, Packings, Spray, Board, Blankets
                                                a nd Other Asbestos Containing Products and Equipment
                                                BURN HAM, LLC f/k/a BURNHAM BOILER CO.: Asbestos
                                                Containing Boilers and Vessels, Pipe Covering, Block,
                                                Cement, Gaskets, Blankets, Packings, Spray and Other
                                                Asbestos Containing Products and Equipment




                                            Page 20 of 45




                                                                                             DEBTORS_00009096
